     Case: 1:12-cv-07398 Document #: 15 Filed: 10/02/12 Page 1 of 2 PageID #:93



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ABLE HOME HEALTH, LLC,                              )
on behalf of itself and a class,                    )
                                                    )
               Plaintiff,                           )       12 C 7398
                                                    )
               v.                                   )       Judge Tharp
                                                    )       Magistrate Judge Nolan
CHICAGOLAND THERAPY                                 )
ASSOCIATES, LTD.,                                   )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )

                                   NOTICE OF DISMISSAL

               Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Able Home Health, LLC

voluntarily dismisses its individual claims without prejudice and without costs against defendant

Chicagoland Therapy Associates, Ltd., as defendant has not yet filed an answer or a motion for

summary judgment. Plaintiff Able Home Health, LLC voluntarily dismisses its class claims

without prejudice and without costs against defendant Chicagoland Therapy Associates, Ltd.

Plaintiff Able Home Health, LLC voluntarily dismisses its claims against John Does 1-10

without prejudice and without costs.


                                                    s/ Heather Kolbus
                                                    Heather Kolbus


Daniel A. Edelman
Heather Kolbus
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
120 S. LaSalle Street, 18th floor


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Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)




                                CERTIFICATE OF SERVICE

               I, Heather Kolbus, certify that on October 2, 2012, I caused a true and accurate
copy of the foregoing document to be served, via U.S. Mail, on the following party:


               Chicagoland Therapy Associates, Ltd.
               c/o Susan Gaines, Registered Agent
               P.O. Box 8475
               Aspen, CO 81612



                                                     s/ Heather Kolbus
                                                     Heather Kolbus


Daniel A. Edelman
Cathleen M. Combs
James O. Latturner
Heather Kolbus
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
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